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                IN THE UNITED STATES DISTRICT COURT
                    FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,           )
                                    )
                Plaintiff,          )
                                    )                 4:04CR3128
          v.                        )
                                    )
MARK R. SCHNEIDER,                  )
                                    )                    ORDER
                Defendant.          )
                                    )



     IT IS ORDERED:

     A hearing on Pretrial Services’ petition for
reconsideration, filing 98, will be held at 11:00 a.m.,
March 10, 2006 before the undersigned in Courtroom 2.

     Defendant shall be present for the hearing.

     DATED this 2nd day of March, 2006.

                                   BY THE COURT:


                                   s/   David L. Piester
                                   David L. Piester
                                   United States Magistrate Judge
